Case 1:22-cv-07221-DG-SJB Document 10 Filed 04/07/23 Page 1 of 3 PageID #: 68


      Received in PRO SE
     Office April 7, 2023 at
           12:22 pm
Case 1:22-cv-07221-DG-SJB Document 10 Filed 04/07/23 Page 2 of 3 PageID #: 69




                                                                                   ‫ב׳ה‬
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK
                        CASE NO.: 1:22 -CV-07221-DG-SJB


JAMES PRICE,
15801 SW 137 t h Ave
Miami, Florid a 33177

SHERRY PRICE,
243-10 13 t h Ave #2F
Rosedale, NY 11422
      Plaintiffs ,
v.
UNITED STATES PROBATION AND
PRE-TRIAL SERVICES, EDNY,
      Defendants .
_________________________________________/

Dear Judge Bulsara:

      The Plain tiff in th is case, Sherry Price, res pectfully requests an ex tension
of time to file an amended co mplaint.

      Due to the current lockdown conditions at FCI Miami, Plaintiff Sherry Price
is unable to commun icate with Plain tiff James Price. In light of the lack of
communication between the Plain tiffs, Mrs. Price is unable to respond to th e
Defendant’s letter or draf t an amend ed complaint.

       Additionally, as a result of the lockdown at FCI Miami, which pr events
Plaintiffs from communicating, in a telep hone conversation earlier this week
Plaintiff and AUSA David Cooper agreed to a twenty -one (21) d ay extension on
each side’s res ponse dead line.

      Wherefore, Plain tiff respectfully requests th is Court for an order extending
the dead line for serving the amended co mplaint until May 1, 2023. Plain tiff also
request that th e deadlin e for responding to the amended comp lain t be extend ed
until May 22, 2023.




                                          1
Case 1:22-cv-07221-DG-SJB Document 10 Filed 04/07/23 Page 3 of 3 PageID #: 70




Date: April 7, 2023.



                                         Respectfully Submitted by,



                                         Sherry Price
                                         243-10 138 t h Ave # 2F
                                         Rosedale
                                         New York 11422




                                     2
